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                                                                                   2022 Aug-30 AM 08:52
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

WEST COUNTY INVESTORS, LLC,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues WEST COUNTY INVESTORS, LLC,

for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.




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      2.      Venue is proper in this Court, the Northern District of Alabama

pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA      FENDLEY         (hereinafter   referred   to   as

“FENDLEY”) is a resident of Warrior, Alabama and is a qualified individual with a

disability under the ADA. FENDLEY suffers from what constitutes a “qualified

disability” under the Americans with Disabilities Act of 1990, (“ADA”) and all other

applicable Federal statutes and regulations to the extent that she suffers from

paraplegia and requires a wheelchair for mobility. Prior to instituting the instant

action, FENDLEY visited the Defendant’s premises at issue in this matter numerous

times, and was denied full, safe and equal access to the subject properties due to their

lack of compliance with the ADA. FENDLEY continues to desire and intends to

visit the Defendant’s premises but continues to be denied full, safe and equal access

due to the barriers to access that continue to exist.

      4.      The Defendant, WEST COUNTY INVESTORS, LLC, is a domestic

limited liability company registered to do business and, in fact, conducting business

in the State of Alabama.         Upon information and belief WEST COUNTY

INVESTORS, LLC, (hereinafter referred to as “WCI”) is the owner, lessee and/or

operator of the real property and improvements that are the subject of this action,

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specifically: West County Market Place located at 2004 Veterans Memorial Dr.,

Birmingham, Alabama (hereinafter referred to as the "Shopping Center").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Shopping

Center owned by WCI is a place of public accommodation in that it is a retail

shopping center operated by a private entity that provides goods and services to the

public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Shopping Center in derogation of 42 U.S.C §12101 et seq.




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      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Shopping Center owned by

WCI. Prior to the filing of this lawsuit, Plaintiff personally and regularly visited the

Shopping Center at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Shopping Center, but continues to be injured in that she is unable to and

continues to be discriminated against due to the barriers to access that remain at the

Shopping Center in violation of the ADA. FENDLEY has now and continues to

have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s, deliberate and knowing violations of the ADA.

      10.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.     WCI is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302

et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:




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   i.     There are an insufficient number of accessible parking spaces in
          the parking lot serving the shopping center;

   ii.    Where accessible parking spaces are designated by raised signs,
          the signs are mounted too low and they are not visible over
          parked vehicles;

   iii.   The four parking spaces with some indicia of accessibility that
          are located across from American Freight (Suite 2012) have no
          adjacent access aisles necessary for a wheelchair user, and no
          raised accessible signage to designated these parking as
          accessible;

   iv.    The base of the curb ramp at the Dollar Tree (Suite 2008) has
          an abrupt change in level of greater than ½” that is not beveled
          for a wheelchair user;

   v.     The four (4) parking spaces between Ollies and the Dollar Tree
          have no adjacent access aisles necessary for a wheelchair user
          and three (3) of these spaces have accessible signage that is
          mounted too low to be viewed over parked vehicles, and one
          (1) of these spaces has no raised accessible signage to designate
          it at all;

   vi.    The three (3) accessible parking spaces across from Citi Trends
          (Suite 2000) have no adjacent access aisles necessary for a
          wheelchair user and one (1) of these spaces has signage that is
          too low to be seen over a parked vehicle, and the other two (2)
          of these parking spaces have no raised accessible signage to
          designate them at all;

   vii.   There is a ramped change in level within the sidewalk
          connecting the tenant spaces that has a slope that is too steep
          for a wheelchair user between Citi Trends and the adjacent
          tenant space;




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   viii. The parking space across from Pinnacle Tax Solutions (Suite
         1992) that has some indicia of accessibility has no adjacent
         access aisle necessary for a wheelchair user and no raised
         accessible signage to designate the parking space as accessible;
   ix.   The base of the curb ramp at Pinnacle Tax Solutions (Suite
         1992) has an abrupt change in level of greater than ½” that is
         not beveled as necessary for a wheelchair user;

   x.     There is a ramped change in level within the sidewalk
          connecting the tenant spaces that is too steep for a wheelchair
          user at Anytime Fitness (Suite 1984);

   xi.    The base of the curb ramp at Anytime Fitness (Suite 1984) has
          an abrupt change in level of greater than ½” that is not beveled
          as necessary for a wheelchair user;

   xii.   There is a ramped change in level within the sidewalk
          connecting the tenant spaces that has a slope that is too steep
          for a wheelchair user between Citi Gear (Suite 1982) and Cato
          Fashions (Suite 1974);

   xiii. The parking space with some indicia of accessibility located
         across from the Adamsville Police office (Suite 1952) has no
         adjacent access aisle necessary for a wheelchair and no raised
         accessible signage;

   xiv.   The base of the curb ramp at Nail Fever (Suite 1968) and Suite
          1956 has an abrupt change in level of greater than ½” that is not
          beveled for a wheelchair user;

   xv.    There is a ramped change in level within the sidewalk that has a
          slope that is too steep for a wheelchair user at the Adamsville
          Police office (Suite 1952);

   xvi.   The accessible parking space across from the Suite 1956 has no
          adjacent access aisle necessary for a wheelchair user and no
          raised accessible signage;

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             xvii. There is a ramped change in level within the sidewalk
                   connecting the tenant spaces that has a slope that is too steep
                   between Suite 1956 and Roses Express (Suite 1948);

             xviii. All of the parking spaces in the vicinity of Suite 1948 that bear
                    some indicia of accessibility lack adjacent access aisles
                    necessary for a wheelchair user.

      12.    There are other current barriers to access and violations of the ADA at

the Shopping Center owned and operated by WCI that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

WCI was required to make its Shopping Center, a place of public accommodation,

accessible to persons with disabilities by January 28, 1992. To date, WCI has failed

to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s


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fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against WCI and requests the

following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

             E.     That the Court award such other and further relief as it
                    deems necessary, just and proper.


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     Dated this 29th day of August, 2022.

     Respectfully submitted,

                                            By: /s/ Edward I. Zwilling
                                            Edward I. Zwilling, Esq.
                                            AL State Bar No.: ASB-1564-L54E
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